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 5
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 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
       VERNON STRATTON                            CASE NO.: CV19-00430-MCS-(ASx)
11                                                Hon. Judge Mark C. Scarsi Ctrm 7C, 7th Fl.
12                    Plaintiff,                  Hon. Mag. Judge Alka Sagar, Ctrm 540, 5th Fl.

13     vs.                                        PLAINTIFF’S PROPOSED
14     CITY OF LOS ANGELES, OFFICER               ADDITIONAL VOIR DIRE
       GONZALEZ (#42365), OFFICER                 QUESTIONS
15     SANCHEZ (#32899), OFFICER
16     AMBER KIM (#40907), TRAVIS                 Pretrial Conference
       HANTSBARGER, DONNA BRITTON,
       and DOES 1 – 100, inclusive.               Date: November 2, 2020
17                                                Time: 2:00 p.m.
18                    Defendants.                 Courtroom: 7C
19
                                                   Trial
20                                                 Date: November 17, 2020
21                                                 Time: 8:30 a.m.
                                                   Courtroom: 7C
22            Plaintiff hereby submit the following Proposed Additional Voir Dire questions to
23
       be posed to the jury.
24
25 DATED: October 19, 2020           BELTRAN, BELTRAN, SMITH &
                                     MACKENZIE LLP
26
27                                   By:__/S/_________________________
                                     PATRICK S. SMITH
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                                     Attorneys for Plaintiff

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 1 POLICING AND POLICE OFFICERS
 2
            1.    Have any of you been victimized by any criminal activity? If so, what
 3                happened?
 4
            2.    Have any of you or any member of your family had contact with the City of
 5                Los Angeles Police Department or any other police department and/or any of
 6                its personnel? If so, please explain the nature of the conduct and what
                  happened.
 7
 8          3.    Have you or any member of your family ever called any police department
                  in relation to any criminal incident? If so, what was the nature of the incident.
 9
10          4.    Would you necessarily give more weight to the testimony of a law
11                enforcement officer as opposed to a citizen?
12          5.    Do you or any member of your family belong to any group, club, or
13                organization which renders support to any police organization such as police
                  explorer scouts, neighborhood watch, police reserves or any similar
14                organization?
15
            6.    Does anyone have a strong opinion regarding the current protests regarding
16
                  police abuse of authority? If so, what are they? Do you understand that this
17                case is to be decided on its facts regardless of your views?
18
            7.    Do you understand that a law enforcement officers’ and other witnesses’
19                credibility are to be given the same weight when evaluating their
20                testimony?
21          8.    Do you have any relatives or friends who are officers of the law?
22
            9.    Have you or any relative of yours ever been victimized by a crime? If so,
23
                  please describe the crime.
24
25          10.   Do you believe that your having been victimized by a crime would in any
                  way impact on your decision in this case?
26
27          11.   Are you or any relative of yours an employee or have any relationship with
                  the City Los Angeles Police Department or any other police department, its
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 1                subdivisions or any other municipal agency? If so, which agency and what
                  is the nature of that job or relationship?
 2
 3          12.   Do you believe that the facts of this employment with the municipality
                  would in any way impact on your decision in this case?
 4
 5
            13.   Do you have any existing opinions with respect to what officers can and
 6
                  cannot do regarding the taking into custody or apprehension of suspects? If
 7                so, what are those opinions.
 8
            14.   Do you believe that those opinions would impact on your decision in this
 9                case?
10
            15.   Does anybody disagree that law enforcement officers, as well as citizens,
11                must obey the law?
12
            16.   Does anybody disagree that the presence of alleged criminal activity does
13
                  not give anybody, including officers of the law, the right to disobey the
14                law?
15
            17.   Does anybody disagree that officers of the law are only permitted to arrest a
16                person based on probable cause?
17
            18.   Would any of you not be willing to award damages to the plaintiff solely
18                because the defendant is or is not a police officer?
19
            19.   Is there anyone who believes that policemen do not lie?
20
21          20.   Do any of you believe that police officers should not be held responsible for
22                their actions which injure citizens?

23          21.   Do any of you believe that a policeman would not arrest or detain a person
24                unless that person had committed some crime?
25          22.   Do any of you believe that a policeman should act on his hunches or
26                assumptions to make an arrest?
27
            23.   Would any of you have any difficulty in awarding damages against law
28                enforcement officers, solely because they are police officers, even if you
                  believe the evidence supports such damages?
                                                 3
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 1
 2
 3 OTHER VOIR DIRE ISSUES
 4          24.   Does the fact that you were called into jury during, amid or soon after the
 5                COVID 19 pandemic, will that affect your ability to be fair and impartial?
                  Is there anyone who would hold it against the Plaintiff for being here? Can
 6                each of you accept that everyone wants you to be fair and impartial in this
 7                case and not let such events bias you one way or the other?
 8
            25.   Does anybody not understand the difference between "a preponderance of
 9                the evidence," and "beyond a reasonable doubt"?
10
            26.   Does everyone understand though you may not have experience with jury
11                duty but that the judge and the lawyers have certain jobs (the lawyers
12                present the evidence and the fact, and the judge tells you the law) and that
                  you will be prepared by all of us to render a verdict at the end of the case?
13
14          27.   The parties only want a fair jury. Is there anyone on the jury panel who, if
                  you were one of the parties, would not want someone like you sitting on the
15
                  jury? Please explain why?
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